\DOO-~.]O\Lh-LL)JN._-

l\)[\)[\)l\.)l\)l\_)l\)[\)l\_)»-a»_-)_lr-ho_\¢_\_n\_»_n\-_\
CXJ‘~JO\LH~D¥L»JM'_‘Q\OW*~JO\Lh-hb-JN*_‘O

 

 

Case 4:17-cr-06029-EFS ECF No. 42

JOSEPH H.HARRINGTON
Acting United States Attomey
Eastem District of Washington
Stepharn`e Van Marter

Assistant United States Attomey
Post ()ft`lce Box 1494

Spokane, WA 99210-1494
Telephone: (509) 353~2767

filed 11/07/17 Page|D.114 Page 1 of 3

UNITED STATES DISTRICT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff,
vs.

RENE RAMOS,

  

Defendants.

The Grand Jury Charges:

4:17-CR-6029-EFS
SUPERSEDING INDICTMENT

Vio: 21 U.S.C. § 846

Conspiracy to Distribute 500 Grams
or More Of a Mixture or Substance
Containing a Detectable Amount of
Metharnphetamine (Count 1)

21 U.S.C. § 841(a)(1), (b)(l)(A)(viii)
and 18 U.S.C. § 2

POSSeSSiOn With the Intent to
Distr"ibute 50 grams or More of
Actual Methamphetamine

(Count 2)

21 U.S.C. § 353

 

Forfeiture Allegations

COUNT ONE

Beginning on a date unknown, but not later than December 2015, and

continuing through July 27, 2017, in the Eastel'n District of Washington, the

Defendants named herein, RENE RAMOS, _, and

INDICTMENT _ l

 

 

OO‘~JG\M-LL»JI\J'-‘

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 4:17-cr-06029-EFS ECF No. 42 filed 11/07/17 Page|D.llB Page 2 of 3

_, did knowingly and intentionally combine, conspire

confederate and agree together with each other and other persons, both known and
unknown to the Grand Jury, to commit the following offense against the United
States, to wit: distribution of 500 grams or more of a mixture or substance
containing a detectable amount of methamphetamine, a Schedule 11 controlled
substance, in violation of 21 U.S.C. § 841(_a)(1), (b)(l)(A)(viii); all in violation of
21 U.S.C. § 846.

COUNT TWO

That on or about July 27, 2017_. in the Eastern District of Washington, the
Defendant, RENE RAMOS, did knowingly and intentionally possess with the
intent to distribute 50 grams or more of actual methamphetamine a Schedule II
controlled substanee, in violation of21 U.S.C. § 841(a)(1), (b)(l)(A)(viii) and 18
U.S.C. § 2.

NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

The allegations contained in this Superseding Indictment are hereby re-
alleged and incorporated by reference for the purpose of alleging forfeitures

Pursuant to 21 U.S.C. § 853, upon conviction of an offense in violation of
21 U.S.C. § 841(a)(1), as alleged in this Superseding Indictment, RENE RAMOS,
the United States of America, any property constituting, or derived from, any
proceeds obtained, directly or indirectly, as the result of such offense(s) and any
property used or intended to be used, in any manner or part, to commit or to
facilitate the commission of the offense(s).

lf any forfeitable property, as a result of any act or omission of the
Defendant:

(a) cannot be located upon the exercise of due diligence;

INDICTMENT ~ 2

 

 

Case 4:17-cr-06029-EFS ECF No. 42 filed 11/07/17 Page|D.ll€ Page 3 of 3

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be divided
without difficulty,

the United States of Arnerica shall be entitled to forfeiture of substitute property
pursuant to 21 U.S.C. § 853(p).
DATED this __day of November, 2017.
A TRUE BILL

 

~ Acting United States Attomey

./a/;@@KH

§'ephanie Van Martefq`
Assistant United States Attomey

INDICTMENT - 3

 

